     LAW OFFICES OF RONALD A. MARRON 
 1   RONALD A. MARRON (SBN 175650)
     ron@consumersadvocates.com 
 2   MICHAEL T. HOUCHIN (SBN 305541)
 3   mike@consumersadvocates.com
     651 Arroyo Drive 
 4   San Diego, California 92103 
     Telephone: (619) 696-9006 
 5   Facsimile: (619) 564-6665
 6   LAW OFFICE OF DAVID ELLIOT
     DAVID ELLIOT (SBN 270381)
 7   davidelliot@elliotlawfirm.com
     2028 3rd Avenue
 8   San Diego, CA 92101
     Telephone: (858) 228-7997
 9   Attorneys for Plaintiff and the Proposed Class
10
11                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
12
13   CRYSTAL HILSLEY, on behalf of         ) Case No. 3:17-CV-2335-GPC-MDD
     herself and all others similarly situated,
                                           )
14                                         ) CLASS ACTION
15                             Plaintiff,  )
                                           )
16         vs.                             ) MEMORANDUM
                                             AND  AUTHORITIES
                                                                OF POINTS
                                                                    IN
                                           ) SUPPORT OF PLAINTIFF’S
17                                         ) MOTION FOR CLASS
                                           ) CERTIFICATION AND TO
18
     OCEAN SPRAY CRANBERRIES, INC.; ) APPOINT CLASS COUNSEL
19   ARNOLD WORLDWIDE LLC, and Doe )
     defendants 1 through 5, inclusive,    )
20                                         ) Date: October 12, 2018
                               Defendants. ) Time: 1:30 p.m.
21                                         ) Ctrm: 2D
                                           ) Judge: Hon. Gonzalo P. Curiel
22                                         )
23                                         ) REDACTED FOR PUBLIC VIEW
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24                                         )
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 1                                       INTRODUCTION
 2         This is a simple consumer fraud action in which a California Class alleges that
 3   Defendants Ocean Spray Cranberries, Inc. and Arnold Worldwide, LLC
 4   (“Defendants” or “Ocean Spray”) product labels claiming that Ocean Spray fruit-
 5   flavored beverage products contain “No Artificial Flavors” are false and misleading
 6   because the Products actually contain an artificial flavoring ingredient called dl-
 7   malic acid. (See ECF No. 1-2 (“Compl.”), ¶ 32). Plaintiff alleges that this type of
 8   malic acid “is not naturally-occurring but is in fact made in petrochemical plants
 9   from benzene or butane—components of gasoline and lighter fluid, respectively—
10   after an intermediate conversion to maleic anhydride through a series of chemical
11   reactions involving toxic chemical precursors and byproducts.” (Compl., ¶ 33).
12   Plaintiff also alleges that some of the Ocean Spray Products also contain a similar
13   artificial flavoring ingredient called fumaric acid. (Compl., ¶ 54).
14         The case is readily amenable to certification. Each of the Rule 23(a) criteria
15   is satisfied. Regarding numerosity, many thousands of consumers purchased these
16   Ocean Spray Products. For commonality, Plaintiff demonstrates that Defendants’
17   unlawful behavior was the same to all class members so that liability to each will be
18   determined by answering the same questions, including whether Ocean Spray
19   violated California consumer protection laws and whether this conduct was likely to
20   deceive a reasonable consumer. For typicality, Plaintiff demonstrates that the legal
21   theory and type of injury is the same for all class members, and with respect to
22   adequacy, Plaintiff demonstrates that she and her counsel have no conflicts and have
23   been vigorously prosecuting the case on behalf of the class.
24         In addition, each of the Rule 23(b)(2) and 23(b)(3) criteria is satisfied. The
25   Class’s claims present predominating common questions based on objective
26   standards that can be resolved through class-wide evidence. Because a determination
27   of the truth or falsity of Ocean Spray’s representations will resolve an issue that is
28   central to the validity of each one of Plaintiff’s claims in one stroke, Plaintiff’s
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 1   claims are appropriate for class treatment. And because the Class challenges a
 2   uniformly deceptive advertising campaign, the Class damages necessarily flow from
 3   Ocean Spray’s conduct creating the legal liability.
 4         For the reasons set forth below, Plaintiff respectfully moves the Court for an
 5   Order pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(2), and 23(b)(3),
 6   certifying, with respect to her claims for violations of the Consumers Legal
 7   Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”) violations of the Unfair
 8   Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”), violations of
 9   the False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq. (“FAL”), and
10   for breach of express and implied warranties, a California Class defined as follows:
11         All California Citizens who purchased one of the following Ocean
12         Spray Products, for personal and household use and not for resale, in
13         California from January 1, 2011 until the date class notice is
           disseminated:
14
              •   Ocean Spray Cran Apple;
15            •   Ocean Spray Cran Grape;
16            •   Ocean Spray “100% Apple” Juice Drink;
17            •   Ocean Spray Cranberry Juice Cocktail;
              •   Ocean Spray Wave Apple with White Cranberries;
18            •   Ocean Spray Wave Berry Medley;
19            •   Ocean Spray Cran Cherry;
20            •   Ocean Spray Cran Pineapple;
              •   Ocean Spray Cran Pomegranate;
21            •   Ocean Spray Diet Cran Pomegranate;
22            •   Ocean Spray Diet Cran Cherry;
23            •   Ocean Spray Cranberry Cherry Flavor 100% Juice.

24         Excluded from the Class are Defendants’ current and former officers
           and directors, members of the immediate families of Defendants’
25
           officers and directors, Defendants’ legal representatives, heirs,
26         successors, and assigns, any entity in which Defendants have or had a
27         controlling interest during the Class Period, and the judicial officers to
           whom this lawsuit is assigned.
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 1                                              FACTS
 2         This action was filed in the San Diego Superior Court on September 19, 2017.
 3   (See generally Compl.). Defendants each filed an answer to Plaintiff’s Complaint on
 4   November 16, 2017. (ECF Nos. 1-2 & 1-3). On November 16, 2017, Defendants
 5   removed this action to this Court pursuant to the Class Action Fairness Act of 2005
 6   (“CAFA”), 28 U.S.C. § 1332(d). (ECF No. 1).
 7         Plaintiff’s complaint alleges that “Defendant Ocean Spray manufactures,
 8   distributes, advertises, markets, and sells a variety of juices and juice-based beverage
 9   products” and that “Defendant Arnold Worldwide participates substantially in the
10   labeling and advertising of these products.” (Compl., ¶ 6). The twelve Ocean Spray
11   Products at issue are (1.) Ocean Spray Cran Apple; (2.) Ocean Spray Cran Grape;
12   (3.) Ocean Spray “100% Apple” Juice Drink; (4.) Ocean Spray Cranberry Juice
13   Cocktail; (5.) Ocean Spray Wave Apple with White Cranberries; (6.) Ocean Spray
14   Wave Berry Medley; (7.) Ocean Spray Cran Cherry; (8.) Ocean Spray Cran
15   Pineapple; (9.) Ocean Spray Cran Pomegranate; (10.) Ocean Spray Diet Cran
16   Pomegranate; (11.) Ocean Spray Diet Cran Cherry, and; (12.) Ocean Spray
17   Cranberry Cherry Flavor 100% Juice (collectively the “Products” or the “Ocean
18   Spray Products”). (Compl., ¶¶ 7, 94-95). The labels of each of the Ocean Spray
19   Products similarly represent that the Products contain “No Artificial Flavors.” (See
20   Declaration of Ronald A. Marron in Support of Plaintiff’s Motion for Class
21   Certification (“Marron Decl.”), ¶¶ 2-4 & Exs. 1-3 [product labels]).
22         Plaintiff alleges that Ocean Spray’s labeling claims are false and misleading
23   because each of the Ocean Spray Products contain artificial flavoring ingredients,
24   either dl-malic acid, fumaric acid, or both. (Compl., ¶¶ 33, 54). In fact,
25
26                                                                      (See Marron Decl.,
27   ¶ 8 & Ex. 7).
28                        (See Marron Decl., ¶ 8 & Ex. 7).
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 2                                      (See Marron Decl., ¶ 9 & Ex. 8). Plaintiff’s testing
 3   confirms that Ocean Spray uses the artificial dl-malic acid in the Products. (See
 4   Marron Decl., ¶ 5 & Ex. 4).
 5                                  (See Marron Decl., ¶ 11 & Ex. 10), but failed to label
 6   them as “artificially flavored.”
 7         Plaintiff alleges that the Ocean Spray Product labels violate California law in
 8   a minimum of three different ways. (Compl., ¶ 25). “First, because the Product
 9   contains added flavoring ingredients that simulate and reinforce the Product’s
10   characterizing flavors, the front label is required by law to disclose the presence of
11   those additional flavorings rather than misleadingly suggest that Product’s flavor is
12   conferred only by natural cranberry and apple juices.” (Compl., ¶ 26) (citing Cal.
13   Health & Saf. Code § 109875, et seq. (Sherman Law), incorporating 21 CFR §
14   101.22). “Second, the required Product ingredient list violates Federal and state law
15   because it misleadingly identifies the malic acid constituent only as a generic ‘malic
16   acid’ instead of using the correct, specific, non-generic chemical name of the
17   ingredient as required by food labeling regulations.” (Compl., ¶ 27) (citing 21 CFR
18   § 101.4(a)(1)). “Third, and even more deceptive, is the fact that the Product claims
19   on its [] label to have ‘No… artificial flavors’, even though it contains an undisclosed
20   artificial flavor made from petrochemicals.” (Compl., ¶ 28). Moreover, Plaintiff’s
21   Complaint alleges that Federal and state laws require Ocean Spray to affirmatively
22   disclose its use of artificial flavoring ingredients in “boldface print on the front
23   display panel and of sufficient size for an average consumer to notice.” (Compl., ¶¶
24   47-48) (citing 21 CFR § 102.4(c)). Ocean Spray fails to do so.
25         Plaintiff Crystal Hilsley purchased the 64-ounce Ocean Spray Cran-Apple
26   Product occasionally from about 2011 until 2013 and on approximately a monthly
27   basis from 2013 until December of 2016. (See Declaration of Crystal Hilsley in
28   Support of Plaintiff’s Motion for Class Certification (“Hilsley Decl.”), ¶ 4; Marron
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 1   Decl., ¶ 13 & Ex. 12 [Hilsley Dep. Tr. 74:17-75-20]). Plaintiff also purchased the
 2   64-ounce Ocean Spray Cran-Grape Product, the 64-ounce Ocean Spray “100%
 3   Apple” juice drink, and the 64-ounce Ocean Spray Cranberry Juice Cocktail
 4   Products multiple times during the class period. (Hilsley Decl., ¶ 4; Marron Decl., ¶
 5   13 & 12 [Hilsely Dep. Tr. 75:24-76:3; 76:22-77:16). Plaintiff purchased the Ocean
 6   Spray Products from various retail stores in San Diego County, California, including
 7   the Ralphs Supermarket located at 125 N. El Camino Real, Encinitas, California.
 8   (Hilsley Decl., ¶ 4). When purchasing the Products, Plaintiff read and relied on the
 9   labels, including the labeling statement that the Products contain “No artificial
10   flavors or preservatives” and the fact that the labels failed to disclose that the
11   Products contained artificial flavorings. (Hilsley Decl., ¶ 5; Marron Decl., ¶ 13 &
12   Ex. 12 [Hilsley Dep. Tr. 81:4-20]). Plaintiff would not have purchased the Ocean
13   Spray Products if she had known that the Products actually contain artificial
14   ingredients. (Hilsley Decl., ¶ 7).
15                                        LEGAL STANDARDS
16         Under Federal Rule of Civil Procedure 23, “‘[a] class action may be
17   maintained’ if two conditions are met: The suit must satisfy the criteria set forth in
18   subdivision (a) (i.e., numerosity, commonality, typicality, and adequacy of
19   representation), and it also must fit into one of the three categories described in
20   subdivision (b).” Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.
21   393, 398 (2010). These are the only criteria that must be met. Briseno v. ConAgra
22   Foods, Inc., 844 F. 3d 1121, 1124-26 (9th Cir. 2017) (“declin[ing] to interpose an
23   additional hurdle”—administrative feasibility—“into the class certification process
24   delineated in the enacted Rule”). In ruling on a motion for class certification, “the
25   court ‘is bound to take the substantive allegations of the complaint as true.’” Wiegele
26   v. FedEx Ground Package Sys., 2008 U.S. Dist. LEXIS 10246, at *8 (S.D. Cal. Feb.
27   12, 2008) (quoting Blackie v. Barrack, 524 F.2d 891, 901 n.17 (9th Cir. 1975)).
28   California “has a public policy which encourages the use of the class action device.”
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 1   Richmond v. Dart Indus., Inc., 29 Cal. 3d 462, 473 (1981); Sav-On Drug Stores, Inc.
 2   v. Super. Ct., 34 Cal. 4th 319, 340 (2004) (same). On a motion for class certification
 3   the court makes no findings of fact. Keilholtz v. Lennox Hearth Prods., 268 F.R.D.
 4   330, 337, n.3 (N.D. Cal. 2010). “In determining whether class certification is
 5   appropriate, the question is not whether . . . [plaintiffs] will prevail on the merits, but
 6   rather, whether the requirements of Rule 23 are met.” Hofstetter v. Chase Home Fin.,
 7   LLC, No. C10-01313 WHA, 2011 WL 1225900, at *6 (N.D. Cal. Mar. 31, 2011)
 8   (internal quotations and citations omitted).
 9                                           ARGUMENT
10          A.     The Requirements of Rule 23(a) Are Satisfied
11                 Numerosity
12          Rule 23(a)(1) is satisfied if “the class is so numerous that joinder of all
13   members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Where the exact size of the
14   class is unknown, but general knowledge and common sense indicate that it is large,
15   the numerosity requirement is satisfied.” In re Abbott Labs. Norvir Anti-Trust Litig.,
16   Nos. C 04-1511 CW, C 04-4203 CW, 2007 WL 1689899, at *6 (N.D. Cal. June 11,
17   2007) (internal citations and quotations omitted). Numerosity is generally met if a
18   proposed class has at least 40 members. See, e.g., Harris v. Palm Springs Alpine
19   Estates, 329 F.2d 909, 913-914 (9th Cir. 1964). In seeking removal of this action to
20   this Court, Ocean Spray admitted that class members have made “millions of
21   purchases of the twelve products” and that the amount in controversy is in excess of
22   $5,000,000. (See Dkt. No. 1 [Ntc. of Removal at & 24]). Common sense accordingly
23   dictates that the class is sufficiently numerous that joinder of all members of the
24   Class is impracticable. See, Chavez v. Blue Sky Natural Beverage Co., 268 F.R.D.
25   365, 377 (N.D. Cal. 2010) (mass-market beverage purchases satisfied numerosity).
26                 Commonality
27          Rule 23(a)(2) is satisfied if “there are questions of law or fact common to the
28   class.” Fed. R. Civ. P. 23(a)(2). This criterion is satisfied whenever “the class
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 1   members have suffered the same injury,” so that their claims “depend upon a
 2   common contention . . . [whose] truth or falsity will resolve an issue that is central
 3   to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.
 4   Dukes, 564 U.S. 338, 350 (2011) [“Dukes”]. “Where questions common to class
 5   members present significant issues that can be resolved in a single adjudication
 6   ‘there is clear justification for handling the dispute on a representative rather than on
 7   an individual basis.’” Rodman v. Safeway, Inc., 2014 WL 988992, at *4 (N.D. Cal.
 8   2014) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997) (internal
 9   citation omitted)). “What matters” is “the capacity of a classwide proceeding to
10   generate common answers apt to drive the resolution of the litigation.” Dukes, 564
11   U.S. at 350 (quotation omitted); see, also, Jimenez v. Allstate Ins. Co., 765 F.3d
12   1161, 1165 (9th Cir. 2014).
13         “[P]laintiff’s burden for showing commonality is ‘minimal,’” Mezzadri v.
14   Med. Depot, Inc., 2016 WL 5107163, at *3 (S.D. Cal. May 12, 2016) (quoting
15   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)). “The existence of
16   shared legal issues with divergent factual predicates is sufficient, as is a common
17   core of salient facts.” Hanlon, 150 F.3d at 1019. Commonality is found “where a
18   defendant has engaged in standardized conduct toward members of the class.” Hale
19   v. State Farm Mut. Auto. Ins. Co., 2016 WL 4992504, at *6 (S.D. Ill. Sept. 16, 2016)
20   (citing Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998) (collecting cases)). Under
21   Rule 23(a)(2), “even a single common question will do.” Dukes, 564 U.S. at 359.
22         Here, the class includes only persons who purchased Ocean Spray Products
23   that are falsely labeled, fail to disclose artificial flavorings, and claim “No artificial
24   flavors.” (See Marron Decl., ¶¶ 2-4 & Exs. 1-3 [product labels]). The gravamen of
25   the Class’s claims is that Ocean Spray did not provide products that conformed to
26   these labels because those products in fact contain artificial flavoring ingredients.
27   (Compl., ¶¶ 21-33). This “common contention” is “capable of classwide resolution,”
28   see Dukes, 564 U.S. at 350, as Ocean Spray’s liability to all class members will be
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 1   determined by answering the same questions. Because these representations were
 2   made to all class members on the product packaging (Marron Decl., ¶¶ 2-4 & Exs.
 3   1-3), common questions include whether Ocean Spray’s “No artificial flavors” claim
 4   and failure to disclose is likely to deceive. See, e.g., Spann v. J.C. Penney Corp., 307
 5   F.R.D. 508, 518 (C.D. Cal. 2015). Common questions also include (1) whether
 6   Ocean Spray communicated a representation—through the Products’ packaging and
 7   labeling—that the Ocean Spray Products contain “No artificial flavors”; (2) if so,
 8   whether that representation was material to individuals purchasing the Ocean Spray
 9   Products; (3) if the representation was material, whether it was truthful; and (4) if
10   reasonable consumers who purchased Ocean Spray Products were deceived by a
11   material misrepresentation, what is the proper method for calculating their damages?
12   Commonality is satisfied.
13                Typicality
14         Rule 23(a)(3) is satisfied if “the claims or defenses of the representative
15   parties are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).
16   This means plaintiff’s claims “are reasonably co-extensive with those of absent class
17   members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020.
18   “Typicality refers to the nature of the claim or defense of the class representative,
19   and not to the specific facts from which it arose or the relief sought.” Hanon v.
20   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quotation omitted); see also
21   Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010). “In
22   determining whether typicality is met, the focus should be on the defendants’
23   conduct and plaintiff’s legal theory.” Simpson v. Fireman’s Fund Ins. Co., 231
24   F.R.D. 391, 396 (N.D. Cal. 2005) (citation and internal quotation marks omitted).
25         “A plaintiff’s claim is typical if it arises from the same event or practice or
26   course of conduct that gives rise to the claims of other class members and . . . her
27   claims are based on the same legal theory.” De La Fuente v. Stokely-Van Camp, Inc.,
28   713 F.2d 225, 232 (7th Cir. 1983) (quotation and citations omitted). Thus, “[t]o
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 1   assess whether or not the representative’s claims are typical, the Court examines
 2   ‘whether other members have the same or similar injury, whether the action is based
 3   on conduct which is not unique to the named plaintiffs, and whether other class
 4   members have been injured by the same course of conduct.’” In re Brazilian Blowout
 5   Litig., No. CV 10-8452-JFW MANX, 2011 WL 10962891, at *3 (C.D. Cal. Apr. 12,
 6   2011) [“Brazilian Blowout”] (quoting Hanon, 976 F.2d at 508 (quotation omitted)).
 7   “In instances where it is alleged that the defendant[] engaged in a common scheme
 8   relative to all members of the class, there is a strong assumption that the claims of
 9   the representative parties will be typical of the absent members.” Salvagne v.
10   Fairfield Ford Inc., 264 F.R.D. 321, 328 (S.D. Ohio 2009) (quotation omitted).
11         Here, Plaintiff alleges that she and all class members were exposed to the same
12   misleading claims and omissions, were influenced by those claims, and were injured
13   in the same manner. (Compl ¶ 42; Marron Decl., ¶¶ 2-4 & Exs. 1-3). Consumer
14   research discloses that consumers are highly likely to be influenced by these exact
15   misleading claims and omissions. (See Declaration of Dr. George E. Belch in
16   Support of Plaintiff’s Motion for Class Certification (“Belch Decl.”), ¶¶ 34-38).
17   Plaintiff’s claims are therefore typical of class members’ claims. Lilly v. Jamba Juice
18   Co., 308 F.R.D. 231, 240 (N.D. Cal. 2014) (plaintiffs’ claims are typical when “they
19   purchased products that are the same as, or very similar to, the products challenged
20   by the rest of the proposed class.”). The typicality requirement is also satisfied.
21                Adequacy
22         Rule 23(a)(4) is satisfied if “the representative parties will fairly and
23   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “Resolution
24   of two questions determines legal adequacy: (1) do the named plaintiffs and their
25   counsel have any conflicts of interest with other class members and (2) will the
26   named plaintiffs and their counsel prosecute the action vigorously on behalf of the
27   class?” Hanlon, 150 F.3d at 1020 (citation omitted).
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 1         Plaintiff has demonstrated that she and her counsel satisfy these criteria.
 2   Plaintiff has standing, has no conflict of interest with other class members, is aware
 3   of her obligations as a class representative, and has prosecuted and will continue
 4   prosecuting the action vigorously on behalf of the class. (See Hilsley Decl., ¶¶ 9-11);
 5   Brazilian Blowout, 2011 WL 10962891, at *5 (class representatives adequate where
 6   they submitted declarations stating “they understand their responsibilities as class
 7   representatives that no conflicts exist between their interests and other members of
 8   the class, and that they intend to vigorously pursue all claims asserted in this
 9   lawsuit”). Plaintiff does not possess any interests that conflict with those of the
10   proposed Class because, like absent Class members, Plaintiff relied on Ocean
11   Spray’s misleading advertisements in purchasing the Products, lost money because
12   the Products are not as advertised, and is motivated to establish Ocean Spray’s
13   liability and attain remedies equally applicable to and beneficial for the Class.
14   (Hilsley Decl., ¶¶ 4-8). Plaintiff is familiar with the underlying legal claims asserted
15   in this case and has stayed informed about its status. (Hilsley Decl., ¶¶ 9-11).
16         Plaintiff’s counsel are adequate class counsel because they are experienced in
17   consumer protection class actions and other false advertising litigation, have no
18   conflicts, and have prosecuted and will continue prosecuting the action vigorously
19   on behalf of the class. (Marron Decl. ¶¶ 15-33 & Ex. 14 [Firm Resume]; Declaration
20   of David Elliot in Support of Plaintiff’s Motion for Class Certification (“Elliot
21   Decl.”), ¶¶ 1-2); Martin v. Monsanto Co., No. EDCV162168JFWSPX, 2017 WL
22   1115167, at *5 (C.D. Cal. Mar. 24, 2017) (finding the adequacy requirement
23   satisfied when Plaintiff's counsel “submitted declarations demonstrating that they
24   have had substantial experience with similar class actions and other false advertising
25   litigation, have no conflicts, and will continue prosecuting the action vigorously on
26   behalf of the Class.”). The Law Offices of Ronald A. Marron and the Law Office of
27   David Elliot demonstrate the ability to diligently pursue the instant claims on behalf
28   of Plaintiff and the proposed Class and have sufficient resources to do so
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 1   successfully. (Marron Decl. ¶¶ 15-33 & Ex. 14; Elliot Decl., ¶¶ 1-2). The adequacy
 2   requirement is therefore also satisfied.
 3         B.     The Requirements of Rule 23(b)(3) Are Satisfied
 4                Predominance
 5         The “predominance inquiry tests whether proposed classes are sufficiently
 6   cohesive to warrant adjudication by representation.” Amchem Prods., 521 U.S. at
 7   623; see also Fed. R. Civ. P. 23(b)(3). Predominance exists where common
 8   questions present “a significant aspect of the case that can be resolved for all
 9   members of the class in a single adjudication.” Berger v. Home Depot USA, Inc.,
10   741 F.3d 1061, 1068 (9th Cir. 2014) (internal quotation, brackets, and alteration
11   omitted). “[W]hen common questions present a significant aspect of the case and
12   they can be resolved for all members of the class in a single adjudication, there is
13   clear justification for handling the dispute on a representative rather than an
14   individual basis.” Hanlon, 150 F.3d at 1022 (quotation omitted). In addition to
15   showing that common questions concerning the substantive elements of the class’s
16   claims predominate, Rule 23(b)(3) requires a showing that the class’s “damages
17   stemmed from the defendant’s actions that created the legal liability.” Levya v.
18   Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013) (citing Comcast Corp. v.
19   Behrend, 133 S. Ct. 1426, 1435 (2013) [“Comcast”]). Plaintiff must also show that
20   “damages are capable of measurement on a classwide basis,” Comcast, 133 S. Ct. at
21   1433, so they can “feasibly and efficiently be calculated once the common liability
22   questions are adjudicated.” Levya, 716 F.3d at 514. “Often, this will impose only a
23   very limited burden.” Lilly, 308 F.R.D. at 244. “If damages are capable of
24   measurement on a class-wide basis, questions of individual damage calculations will
25   not overwhelm questions common to the class.” Hale, 2016 WL 4992504, at *8
26   (citing Comcast, 133 S. Ct. at 1433).
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 1         a.     Ocean Spray’s Liability Will be Adjudicated Pursuant to
 2                Objective Standards, Using Common Evidence
 3         “Considering whether ‘questions of law or fact common to class members
 4   predominate’ begins . . . with the elements of the underlying causes of action.” Erica
 5   P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011).
 6         i.     Common Issues Predominate with Respect to Plaintiff’s Claims Under
 7                California’s Consumer Protection Laws
 8         California’s FAL, CLRA, and UCL “prohibit ‘not only advertising which is
 9   false, but also advertising which, although true, is either actually misleading or
10   which has a capacity, likelihood or tendency to deceive or confuse the public.’”
11   Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008) (quotation
12   omitted). This is “judged by the effect it would have on a reasonable consumer,”
13   who is the “ordinary consumer within the target population,” Lavie v. Procter &
14   Gamble Co., 105 Cal. App. 4th 496, 506-507, 510 (2003), is “not versed in the art
15   of inspecting and judging a product, in the process of its preparation or
16   manufacture,” Colgan v. Leatherman Tool Group, Inc., 135 Cal. App. 4th 663, 682
17   (2006), and is not “expected to look beyond misleading representations on the front
18   of the box to discover the truth from the . . . small print.” Williams, 552 F.3d at 939.
19         “[T]he primary evidence in a false advertising case is the advertising itself,”
20   Brockey v. Moore, 107 Cal. App. 4th 86, 100 (2003), and “[t]he ‘misleading
21   character’ of a given representation ‘appears on applying its words to the facts.’”
22   Jefferson v. Chase Home Fin., 2008 WL 1883484, at *17 (N.D. Cal. Dec. 14, 2007)
23   (quoting Colgan, 135 Cal. App. 4th at 679). “To state a claim under the UCL or the
24   FAL ‘based on false advertising or promotional practices, it is necessary only to
25   show that members of the public are likely to be deceived.’” Pulaski Middleman,
26   LLC v. Google, Inc., 802 F.3d 979, 985 (9th Cir. 2015) [“Pulaski”] (quoting In re
27   Tobacco II Cases, 46 Cal. 4th 298, 312 (2009)). A product’s packaging is misleading
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 1   if it presents “a likelihood of confounding an appreciable number of reasonably
 2   prudent purchasers exercising ordinary care.” Brockey, 107 Cal. App. 4th at 99.
 3         If plaintiff demonstrates a representation was likely to deceive under this
 4   objective “reasonable consumer” test, relief “is available ‘without individualized
 5   proof of deception, reliance and injury,’ so long as the named plaintiff[]
 6   demonstrate[s] injury and causation.” Guido v. L’Oreal, USA, Inc., 284 F.R.D. 468,
 7   482 (C.D. Cal. 2012) (quotation omitted); see also Moyle v. Liberty Mut. Ret. Benefit
 8   Plan, 823 F.3d 948, 964-65 (9th Cir. May 20, 2016) (“[W]here the defendant’s
 9   representations were allegedly made on a uniform and classwide basis, individual
10   issues of reliance do not preclude class certification.” )(citing Hanon, 976 F.2d at
11   509 (“We emphasize that the defense of non-reliance is not a basis for denial of class
12   certification.”))). And while reliance is an element of the class’s CLRA claims,
13   “[t]he causation required by the CLRA does not make plaintiffs’ claims unsuitable
14   for class treatment because causation as to each class member is commonly proved
15   more likely than not by materiality.” Guido, 284 F.R.D. at 482 (quotation omitted).
16   That is because “[a] presumption, or at least an inference, of reliance arises . . .
17   whenever there is a showing that a misrepresentation was material.” Tobacco II
18   Cases, 46 Cal. 4th at 327; see also Stearns v. Ticketmaster Corp., 655 F.3d 1013,
19   1022 (9th Cir. 2012), abrogated on other grounds by Comcast, 133 S. Ct. 1426.
20         The objective tests for deception and materiality “renders claims under the
21   UCL, FAL, and CLRA ideal for class certification because they will not require the
22   court to investigate class members’ ‘individual interaction with the product.’” Tait
23   v. BSH Home Appliances Corp., 289 F.R.D. 466, 480 (C.D. Cal. 2012) (quotation
24   omitted). “For this reason, district courts in California routinely certify consumer
25   class actions arising from alleged violations of the CLRA, FAL, and UCL.” Id.
26   (citing Keegan v. Am. Honda Motor Co., Inc., 284 F.R.D. 504 (C.D. Cal. June 12,
27   2012); Bruno v. Eckhart Corp., 280 F.R.D. 540, 547 (C.D. Cal. 2012); Chavez, 268
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 1   F.R.D. at 375-80; Parkinson v. Hyundai Motor Am., 258 F.R.D. 580, 589 (C.D. Cal.
 2   2008)).
 3         Here, “the predominating common issues include whether [Defendants]
 4   misrepresented” the Products “and whether the misrepresentations were likely to
 5   deceive a reasonable consumer.” See Johns v. Bayer Corp., 280 F.R.D. 551, 557
 6   (S.D. Cal. 2012); see also In re Ferrero Litig., 278 F.R.D. 552, 560 (S.D. Cal. 2011).
 7   The Court should therefore find that common issues predominate.
 8         ii.    Common Issues Predominate with Respect to Plaintiff’s Warranty
 9                Claims
10         A warranty is a guarantee by a contracting party that something contemplated
11   by the contract has a particular character or quality; the promising party in effect
12   insures the other against the possibility that the thing is not as warranted. See Mary
13   Pickford Co. v. Bayly Bros., Inc., 12 Cal. 2d 501, 520 (1939) (“The obligation of a
14   warranty is absolute, and is imposed as a matter of law irrespective of whether the
15   seller knew or should have known of the falsity of his representations.”). The
16   elements of a claim for breach of warranty are: “(1) the seller’s statements constitute
17   an affirmation of fact or promise or a description of the goods; (2) the statement was
18   part of the basis of the bargain; and (3) the warranty was breached.” In re ConAgra
19   Foods, Inc., 90 F. Supp. 3d 919, 984 (C.D. Cal. 2015) [“ConAgra”] (quotation
20   omitted); see also Cal. Com. Code §§ 2313(1)(a)-(b). “[A] warranty is conclusively
21   presumed to be material,” BLACK’S LAW DICTIONARY (8th ed. 2004), at 1618.
22         Plaintiff alleges Ocean Spray made the same warranty to every class
23   member— i.e. that the Products contain “No artificial flavors.” (Marron Decl. ¶¶ 2-
24   4 & Exs. 1-3). Resolution of every class member’s claim therefore requires
25   determining only whether Ocean Spray’s “No artificial flavors” statement was an
26   express warranty and, if so, whether the Ocean Spray Products conformed to the
27   promises and descriptions on the product labels. There are no individualized
28   questions that could colorably predominate over these two common questions. First,
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 1   plaintiff “need not establish reliance as an element of [her] express warranty claim,”
 2   and she “need not establish reliance on a classwide basis.” See Karim v. Hewlett-
 3   Packard Co., 311 F.R.D. 568, 573 (N.D. Cal. 2015); see also ConAgra, 90 F. Supp.
 4   3d at 984 (“Proof of reliance on specific promises or representations is not required”
 5   for breach of warranty claim.); Hauter v. Zogarts, 14 Cal. 3d 104, 115 (1975)
 6   (“Whereas plaintiffs in the past have had to prove their reliance upon specific
 7   promises made by the seller . . . the Uniform Commercial Code requires no such
 8   proof.” (citing Grinnel v. Charles Pfizer & Co., 274 Cal. App. 2d 424, 440 (1969))).
 9   “Because reliance is not an element of express warranty claims under California law,
10   common questions predominate and class action treatment is appropriate.” In re
11   Scotts EZ Seed Litig., 304 F.R.D. 397, 411 (S.D.N.Y. 2015) (citations omitted).
12         Second, the class may invoke the presumption that “all of the statements of
13   the seller” become part of the basis of the bargain “unless good reason is shown to
14   the contrary.” Karim, 311 F.R.D. at 574 (quoting Cal. Com. Code § 2313, comment
15   8); see also Weinstat v. Dentsply Int’l, Inc., 180 Cal. App. 4th 1213, 1229 (2010)
16   (“Any affirmation, once made, is part of the agreement unless there is ‘clear
17   affirmative proof’ that the affirmation has been taken out of the agreement.”
18   (citations omitted)); Keith v. Buchanan, 173 Cal. App. 3d 13, 23 (1985). Plaintiff’s
19   claims for breach of the implied warranty of merchantability will be adjudged by the
20   same standard because the implied warranty of merchantability “is breached when
21   the goods do not conform to the promises or affirmations contained on the container
22   or label or are not fit for the ordinary purposes for which the goods are used.” Kanfer
23   v. Pharmacare US, Inc., 142 F. Supp. 3d 1091, 1104 (S.D. Cal. 2015) (citing
24   Martinez v. Metabolife Internat., Inc., 113 Cal. App. 4th 181, 189 (2003)).
25         Accordingly, common questions predominate on the class’s breach of
26   warranty claims as well. See Bruno v. Quten Research Inst., LLC, 280 F.R.D. 524,
27   534 (C.D. Cal. 2011) (certifying breach of warranty claims in action alleging
28   supplement was falsely advertised as providing “up to 6X better absorption”);
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 1   ConAgra, 90 F. Supp. 3d at 985 (certification proper where “whether defendant
 2   misrepresented its product and whether such misrepresentations breached warranties
 3   are issues common to members of the class”); Allen v. Similasan Corp., 306 F.R.D.
 4   635, 648-49 (S.D. Cal. 2015) [“Similasan”] (“Whether the Defendant’s statements
 5   about the Products’ efficacy are affirmations of fact, promises, or a description of
 6   the goods focuses on Defendant’s labels, not consumers, and therefore is plainly
 7   subject to common proof.”).
 8         b.     Damages Stem Solely From Defendants’ Actions that Created
 9                Legal Liability
10         Plaintiff alleges Defendants are liable based solely on their misrepresentations
11   of the Ocean Spray products, and the Class’s damages flow solely from that conduct.
12   See Comcast, 133 S. Ct. at 1434. Thus, “[u]nlike the situation in Comcast, there is
13   no possibility in this case that damages could be attributed to defendants’ acts that
14   are not challenged on a class-wide basis because all members of the current class
15   attribute their damages” to the same deceptive practice. See Krueger v. Wyeth, Inc.,
16   310 F.R.D. 468, 482 (S.D. Cal. 2015) (emphasis in original); accord Butler v. Sears,
17   Roebuck & Co., 727 F.3d 796, 800 (7th Cir. 2013) (same); c.f. In re Cathode Ray
18   Tube (CRT) Antitrust Litig., 2013 WL 5429718, at *22 (N.D. Cal. 2013) (“Comcast
19   has no application” where plaintiffs assert only one theory of liability and impact”).
20         “Class wide damages calculations under the UCL, FAL, and CLRA are
21   particularly forgiving. California law ‘requires only that some reasonable basis of
22   computation of damages be used, and the damages may be computed even if the
23   result reached is an approximation.’” Lambert v. Nutraceutical Corp., 870 F.3d
24   1170, 1183 (9th Cir. 2017) (quoting Pulaski, 802 F.3d at 989). The UCL, FAL, and
25   CLRA all “authorize a trial court to grant restitution to private litigants asserting
26   claims under those statutes.” Colgan, 135 Cal. App. 4th at 694 (citing Cortez v.
27   Purolator Air Filtration Prods. Co., 23 Cal. 4th 163, 180 (2000); Fletcher v. Sec.
28   Pac. Nat’l Bank, 23 Cal. 3d 442, 452 (1979)); see also Cal. Bus. & Prof. Code §§
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 1   17203, 17535; Cal. Civ. Code § 1780(a)(3). “The object of restitution is to restore
 2   the status quo by returning to the plaintiff funds in which he or she has an ownership
 3   interest.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1149
 4   (2003). Restitution is “measured by what was taken from the plaintiff.” Clark v.
 5   Super. Ct., 50 Cal. 4th 605, 615 (2010). Thus, “[i]n its simplest form, restitution is
 6   simply ‘the return of the excess of what the plaintiff gave the defendant over the
 7   value of what the plaintiff received.’” Chowning v. Kohl’s Dep’t Stores, Inc., 2016
 8   WL 1072129, at *5 (C.D. Cal. Mar. 15, 2016) (quoting Cortez, 23 Cal. 4th at 174).
 9         The measure of recovery in restitution for the benefit received by the other is
10   the value of the property at the time of its improper acquisition, retention or
11   disposition. Colgan, 135 Cal. App. 4th at 698-99 (quoting Restatement of Restitution
12   § 151). For the class’s consumer fraud claims, restitution damages are therefore their
13   out-of-pocket costs, or the difference in the value between the products as
14   misleadingly advertised and as they were actually delivered. See In re Vioxx Class
15   Cases, 180 Cal. App. 4th 116, 131 (2009) (“The difference between what the
16   plaintiff paid and the value of what the plaintiff received is a proper measure of
17   restitution.” (citations omitted)).
18         Here, damages can be calculated on a class wide basis by showing the price
19   premium that is attributable to Ocean Spray’s “No artificial flavors” labeling claims
20   and failure to disclose the artificial flavorings. Plaintiff’s expert, Dr. George E.
21   Belch, has conducted a consumer survey that examines the price consumers would
22   pay for the Ocean Spray Products if they were properly labeled as being “artificially
23   flavored.” (See Belch Decl., ¶¶ 10-38). Consumer survey evidence is a reliable
24   method of calculating class wide damages under the price premium model. See Kurtz
25   v. Kimberly-Clark Corp., 321 F.R.D. 482, 551 (E.D. N.Y. 2017) (stating that
26   consumer survey evidence has “previously been approved in consumer class actions
27   as reliable methodologies available for calculating the price premium attributable to
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 1   a product characteristic.”) (citing Miller v. Fuhu Inc., 2015 WL 7776794, at *21
 2   (C.D. Cal. Dec. 1, 2015); ConAgra, 90 F.Supp.3d at 1026)
 3         c.     Proposed Damages Model
 4           In this case, Plaintiff proposes a Price Premium Model based on the
 5   difference in value between the Products as they were labeled and the value of the
 6   Products as they were actually delivered to Plaintiff and the Class. This damages
 7   model is direct and straightforward, easy for a jury to understand, relatively simple
 8   to apply to the facts of this case, and has been validated by numerous courts in this
 9   jurisdiction including the Ninth Circuit Court of Appeals. See ConAgra, 90 F. Supp.
10   3d at 1025; (finding that consumer survey evidence was a reliable means of
11   calculating a price premium attributable to misleading labeling claims); Guido, 2014
12   WL 6603730 at *10–14 (same).
13         Plaintiff’s primary damages-model expert, Dr. Belch, conducted a multi-part
14   consumer survey that controlled for other market variables, focusing on the variable
15   of interest – the misleading labels – and then derived a damages model accordingly
16   addressing how much the allegedly mislabeled Products would have been worth to
17   consumers if they had been labeled accurately. (See Belch Decl., ¶¶ 10-38). Dr.
18   Belch, who has over 30 years of experience in product pricing, market analysis, and
19   consumer research and has been qualified as an expert in this field by numerous
20   courts, in turn worked with a consumer survey specialist company to refine and
21   administer a consumer survey addressing the case’s central question of damages.
22   (See Belch Decl., ¶¶ 1-5 & Ex. 5 [curriculum vitae]). Dr. Belch provided Plaintiff
23   with his expert opinion, which describes both his analysis and the proposed damages
24   model. (Belch Decl., ¶¶ 10-38). Dr. Belch has concluded that consumers “have
25   higher levels of purchase likelihood for Ocean Spray Cranberry juice products that
26   use the claim of no artificial flavors on the label versus those products that include
27   a disclosure of artificial flavors on the package label.” (Belch Decl., ¶ 35). Moreover,
28   “[t]he majority of consumers made aware of the use of artificial flavors on the
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 1   package label of the Ocean Spray Cranberry juice products are willing to pay less
 2   than an average reference price for the product.” (Belch Decl., ¶ 36). Through his
 3   consumer survey, Dr. Belch was able to determine the price premium that is
 4   attributable to Ocean Spray’s “No artificial flavors” labeling claim. (Belch Decl., ¶¶
 5   37-38). Dr. Belch concluded that “[c]onsumers would be likely to pay 61 cents less
 6   on average if they were aware of the use of artificial flavors in Ocean Spray
 7   Cranberry juice products.” (Belch Decl., ¶ 38).
 8         As an alternative damages model, Plaintiff retained Dr. Alan G. Goedde to
 9   conduct a survey of published juice prices from Southern California retailers. (See
10   Declaration of Dr. Alan G. Goedde in Support of Plaintiff’s Motion for Class
11   Certification and to Appoint Class Counsel (“Goedde Decl.”), ¶¶ 6-16). Dr. Goedde
12   concluded that “[t]he results showed that the average price for artificially flavored
13   juices sold in 59 to 64 fluid ounce packaging was $2.30 while the average price for
14   all natural juices in 59 to 64 fluid ounce packaging was $2.96, indicating a price
15   premium of $0.66 or 29% over similarly sized artificially flavored products.”
16   (Goedde Decl., ¶ 13). “On a price per ounce bases, artificially flavored juices sold
17   at $0.04 per ounce while all natural juices sold at $0.05 per ounce, indicating a price
18   premium of 25% for all natural juice products.”
19         Both experts worked independently, neither expert communicated their results
20   to the other, and both experts independently derived Price Premium figures for the
21   Products within pennies of each other. (Belch Decl., ¶¶ 8, 38; Godde Decl., ¶¶ 4-5).
22   These results further reinforce the applicability and reliability of the Price Premium
23   damages model that Plaintiff and the putative Class propose.
24                Superiority
25         In addition to predominance, Rule 23(b)(3) requires a finding that “a class
26   action is superior to other available methods for the fair and efficient adjudication of
27   a controversy.” Fed. R. Civ. P. 23(b)(3). The superiority analysis focuses on
28   “efficiency and economy[.]”Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180,
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 1   1190 (9th Cir. 2001). The superiority inquiry also assesses whether the objective of
 2   the class action procedure will be achieved and compares alternative mechanisms
 3   for dispute resolution. See Hanlon, 150 F.3d at 1023. Courts are afforded wide
 4   discretion to evaluate superiority because they are “in the best position to consider
 5   the most fair and efficient procedure for conducting any given litigation.” Bateman
 6   v. Am. Multi-Cinema, Inc., 623 F.3d 708, 712 (9th Cir. 2010). The superiority
 7   requirement “is met ‘[w]here recovery on an individual basis would be dwarfed by
 8   the cost of litigating on an individual basis.’” Tait, 289 F.R.D. at 486 (quoting Wolin,
 9   617 F.3d at 1175); see also Deposit Guar. Nat’l Bank v. Roper, 445 U.S. 326, 339
10   (1980). Class members have no incentive to prosecute separate actions since the
11   products cost less than $4.00, making individual claims exceedingly small in
12   comparison to the costs of litigation. Courts routinely find the superiority
13   requirement satisfied under similar circumstances. See Brazilian Blowout Litig.,
14   2011 WL 10962891, at *9; c.f. Amchem Prods., 521 U.S. at 617.
15         Here, neither Plaintiff nor the proposed Class members have an interest in
16   individual prosecution of their claims, as those claims are of small individual value
17   and virtually identical. Class certification here promotes judicial efficiency because
18   it permits Plaintiff’s and Class members’ common claims and issues to be tried once
19   with a binding effect on all parties. Given the relatively small size of each Class
20   members’ claim, class treatment is not merely superior but effectively is the only
21   way for the Court to ensure fair and efficient adjudication of the Class claims, as no
22   individual consumer could reasonably bring an action to recover that amount. “The
23   Ninth Circuit has recognized that a class action is a plaintiff’s only realistic method
24   for recovery if there are multiple claims against the same defendant for relatively
25   small sums.” Culley v. Lincare Inc., 2016 WL 4208567, at *8 (E.D. Cal. Aug. 10,
26   2016) (citation omitted).
27         There is also no other litigation pending concerning the proposed class’s
28   claims. Further, it is desirable to concentrate the litigation of these claims on behalf
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 1   of California Class members in a California federal court. See Brazilian Blowout,
 2   2011 WL 10962891, at *9 (superiority where “no individual actions [are] pending
 3   against Defendant based on the claims asserted by Plaintiffs,” and action was “most
 4   procedurally advanced” among pending class actions). Therefore, the superiority
 5   requirement is satisfied.
 6         C.     The Requirements of Rule 23(b)(2) Are Satisfied
 7         In the alternative, or in addition to certification under (b)(3), Plaintiff requests
 8   certification under Rule 23(b)(2). In the Ninth Circuit, a class may be certified under
 9   both (b)(2) and (b)(3). Smith v. Univ. of Wash. Law Sch., 233 F.3d 1188, 1196 (9th
10   Cir. 2000). Certification under (b)(2) is appropriate where a defendant has acted on
11   “grounds that apply generally to the class, so that final injunctive relief or
12   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed.
13   R. Civ. P. 23(b)(2). Further, “[a] class seeking monetary damages may be certified
14   pursuant to Rule 23(b)(2) where [monetary] relief is ‘merely incidental to [the]
15   primary claim for injunctive relief.’” Zinser, 253 F.3d at 1195 (citation omitted).
16   Applying Dukes, the Ninth Circuit has held “the key to the (b)(2) class is the
17   indivisible nature of the injunctive or declaratory remedy warranted”. Ellis v. Costco
18   Wholesale Corp., 657 F.3d 970, 987 (9th Cir. 2011) (quotations omitted).
19         Here, Ocean Spray’s conduct affected class members equally because the
20   Products’ packaging uniformly conveys that the Products contain “No artificial
21   flavors,” and all class members were exposed to the same or substantially similar
22   misleading or false labels. Final injunctive relief is appropriate with respect to the
23   Class as a whole and would ensure class members are protected in the future.
24         Further, Plaintiff and the Class are limited to their out-of-pocket cost as
25   restitution damages, and this monetary relief is equitable in nature, flowing from the
26   wrongs asserted. Moreover, injunctive relief in this action is not merely incidental
27   to monetary damages because “the primary form of relief available under the UCL
28   to protect consumers from unfair business practices is an injunction.” McGill v.
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 1   Citibank, N.A., 2 Cal. 5th 945, 954, 393 P.3d 85, 89 (2017) (quoting In re Tobacco
 2   II Cases, 46 Cal.4th at 319).
 3          Plaintiff has standing to pursue the injunctive relief that she seeks. In
 4   Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 966-69 (9th Cir. 2018)
 5   [“Davidson II”], the Ninth Circuit noted that “[i]t [was] an open question in this
 6   circuit to what extent a previously deceived consumer who brings a false advertising
 7   claim can allege that her inability to rely on the advertising in the future is an injury
 8   sufficient to grant her Article III standing to seek injunctive relief.” Id. at 967. The
 9   Ninth Circuit “resolve[d] this district court split in favor of plaintiffs seeking
10   injunctive relief” and held that a previously deceived consumer “may have standing
11   to seek an injunction against false advertising or labeling, even though the consumer
12   now knows or suspects that the advertising was false at the time of the original
13   purchase, because the consumer may suffer an ‘actual and imminent, not conjectural
14   or hypothetical’ threat of future harm.” Id. at 969. Here, Plaintiff would purchase
15   and intends to purchase the Ocean Spray Products again in the future if the labels
16   were accurate and the Products actually contained “No artificial flavors or
17   preservatives.” (See Hilsley Decl., ¶ 8). Thus, the requirements of Rule 23(b)(2) are
18   satisfied.
19          D.    The Class Is Ascertainable
20          In the Ninth Circuit, “‘[t]he requirement of an ascertainable class is met as
21   long as the class can be defined through objective criteria.” Forcellati v. Hyland's,
22   Inc., No. CV 12-1983-GHK MRWX, 2014 WL 1410264, at *5 (C.D. Cal. Apr. 9,
23   2014); Briseno, 844 F.3d at 1124 n.4 (“noting that the Ninth Circuit has not
24   expressly adopted an “ascertainability” requirement) “A class is sufficiently
25   ascertainable if the proposed class definition allows prospective plaintiffs to
26   determine whether they are class members with a potential right to recover.” Id.
27   (quotations omitted); See also McCrary v. Elations Co., LLC, No. EDCV 13-00242
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 1   JGB OP, 2014 WL 1779243, at *8 (C.D. Cal. Jan. 13, 2014) (same, applying Ninth
 2   Circuit criteria).
 3          Accordingly, courts in this circuit routinely certify classes for low-cost
 4   consumer products where purchasers are unlikely to have retained receipts and
 5   where it may be impossible to identify and notice every member of the class, as long
 6   as objective criteria can be applied to determine eligibility. See e.g., Lilly, 2014 WL
 7   4652283, at *4 (“Few people retain receipts for low-priced goods, since there is little
 8   possibility they will need to later verify that they made the purchase. Yet it is
 9   precisely in circumstances like these, where the injury to any individual consumer is
10   small, but the cumulative injury to consumers as a group is substantial, that the class
11   action mechanism provides one of its most important social benefits. In the absence
12   of a class action, the injury would go unredressed.”); Ries v. Arizona Beverages USA
13   LLC, 287 F.R.D. 523, 535 (N.D. Cal. 2012) (noting that if proof of class membership
14   was required for certification, “there would be no such thing as a consumer class
15   action”). Here, the proposed class definition clearly specifies the products at issue
16   and the relevant time period. Objective criteria define the Class, and because the
17   class is defined by objective criteria, members of the class can be ascertained. See,
18   e.g., Forcellati, 2014 WL 1410264, at *5. These objective criteria also address a
19   defendant’s interest in validating Class membership. Id.; Allen, 300 F.R.D. at 660;
20   Hilao v. Estate of Marcos, 103 F.3d 767, 786 (9th Cir. 1996); Six (6) Mexican
21   Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1307-08 (9th Cir. 1990). The
22   use of objective criteria, in addition to the claims-processing error-trapping
23   methodologies deployed, also minimizes the risk of inaccurate or fraudulent claim
24   submissions. (See Declaration of Gajan Retnasaba in Support of Plaintiff’s Motion
25   for Class Certification (“Retnasaba Decl.”), ¶¶ 27-32 (detailing fraud prevention
26   measures)).
27          It is expected that most Class members will not have preserved proofs of
28   purchase over the proposed Class period. Courts in this circuit have held that the
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 1   inability to provide individual proof of purchase does not render a class action
 2   unmanageable or nullify the objective criteria used to identify class members. See,
 3   e.g., Lilly, 2014 WL 4652283, at *4; Brown v. Hain Celestial Grp., Inc., 2014 WL
 4   6483216, at *9 (N.D. Cal. Nov. 18, 2014). Further, an inability to identify each
 5   potential class member does not render the administration of a class action
 6   unmanageable. See e.g., Knutson v. Schwan's Home Serv., Inc., No. 3:12-CV-0964-
 7   GPC-DHB, 2013 WL 4774763, at *1 (S.D. Cal. Sept. 5, 2013); Ries, 287 F.R.D. at
 8   535. Under Rule 23, individual notice must only be provided to class members “who
 9   can be identified through reasonable effort.” Rule 23(c) implicitly assumes that some
10   class members cannot be individually identified. See Manual for Complex Litigation,
11   Fourth § 21.311, at 292 (Fed. Jud. Center 2004) (“[I]f no records were kept of sales
12   of an allegedly defective product from retailers to consumers, publication notice may
13   be necessary.”). Thus, in cases such as this one where a defendant cannot directly
14   identify class members, courts in the Ninth Circuit hold that other types of notice are
15   sufficient to notify and identify class members and are administratively feasible. See,
16   e.g., Galvan v. KDI Distribution Inc., 2011 WL 5116585, at *5-6 (C.D. Cal. 2011)
17   (class notice may be distributed through advertising channels).
18         E.     The Court Should Approve Notice to the Class
19         Under Rule 23(c)(2)(B), for “any class certified under Rule 23(b)(3), the court
20   must direct to class members the best notice that is practicable under the
21   circumstances, including individual notice to all members who can be identified
22   through reasonable effort.” Filed concurrently with this Motion is the Declaration of
23   Gajan Retnasaba detailing a Notice Plan for this case. Because the Products are not
24   sold directly to consumers but are purchased off retail store shelves, individual
25   notice is not possible in this action. (Retnasaba Decl. ¶ 3.). Thus, to reach all
26   potential class members, the best notice practicable under the circumstances is notice
27   by publication and through social media websites like Facebook. (Retnasaba Decl.
28   ¶¶ 3-26); Fed. R. Civ. P. 23(c)(2)(B). The Court should also order Defendant to post
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 1   notice on its own website(s) relating to the Products at no cost to the class as this
 2   will significantly increase the reach of the Class Notice. (Retnasaba Decl. ¶ 21).
 3         Plaintiff therefore here includes draft notices to the class, in summary and
 4   detailed form, notifying them of the certification of this class, how it will affect their
 5   rights, and the deadline to opt-out of the class, as required under Rule 23(c)(2)(B).
 6   (See Marron Decl., ¶ 14 & Ex. 13). The short notice directs class members to the
 7   claims administrator-created web site, where the detailed notice may be viewed. The
 8   notices contain all information required under Rule 23(c)(2)(B) and are written in
 9   neutral language. See id. The Court should approve the Notice Plan, the proposed
10   Notices, and set an opt-out date for three months after its order certifying the class.
11                                          CONCLUSION
12         For the foregoing reasons, the Court should grant Plaintiff’s Motion for Class
13   Certification and to Appoint Class Counsel.
14
15    Dated:    August 16, 2018              Respectfully submitted,
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17
18                                           /s/ Ronald A. Marron
                                                RONALD A. MARRON
19
20                                           LAW OFFICES OF RONALD A.
                                             MARRON, APLC 
21
                                             RONALD A. MARRON
22                                           MICHAEL HOUCHIN
23                                           651 Arroyo Drive 
                                             San Diego, California 92103
24
                                             Telephone: (619) 696-9006
25                                           Facsimile: (619) 564-6665
26
                                             LAW OFFICE OF DAVID ELLIOT
27                                           DAVID ELLIOT (SBN 270381)
28                                           davidelliot@elliotlawfirm.com
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 1                                   2028 3rd Avenue
                                     San Diego, CA 92101
 2                                   Telephone: (858) 228-7997
 3                                   Attorneys for Plaintiff and the Proposed
                                     Class
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